                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 PEOPLE OF THE STATE OF NEW YORK

        -against-                                     23 Civ. 3773 (AKH)

 DONALD J. TRUMP,

                       Defendant.



                     PEOPLE’S NOTICE OF MOTION FOR REMAND
                              (28 U.S.C. §§ 1447 and 1455)

       PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1447 and 1455 and the Court’s

May 9, 2023 Order Regulating Proceedings (ECF No. 8), the People of the State of New York

hereby move the Court for remand of this criminal prosecution to the Supreme Court of the State

of New York, New York County.

       In support of this motion, the People rely on the accompanying Memorandum of Law; the

Declaration of Matthew Colangelo dated May 30, 2023; the exhibits attached to that Declaration;

the pleadings and papers on file in this action; and any argument and evidence that is presented on

the hearing of this motion.

DATED: May 30, 2023                   Respectfully submitted,

                                      ALVIN L. BRAGG, JR.
                                      District Attorney
                                      New York County

                                      By: /s/ Matthew Colangelo
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